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                                                                        A Program of Commonwealth Medicine


           February 22, 2007

           Kathleen M. Dennehy, Commissioner
           Department of Correction
           50 Maple Street, Suite 3
           Milford, MA 01757-3698

           Dear Commissioner Dennehy:

                  This is in response to your February 1, 2007 request, through Attorney Richard
           McFarland, to respond to the question posed in Paragraph No. 2(a) of Judge Wolf’s
           January 30, 2007 Order, which requests that University of Massachusetts Medical School
           provide a letter “stating what treatment for plaintiff the Department of Corrections
           (“DOC”) proposes as an alternative to Sex Reassignment Surgery, including whether it is
           willing to provide plaintiff with intensive psychotherapy by a qualified professional as
           discussed by Dr. Stephen Levine in his December 19, 2006 testimony.”

                    Attorney McFarland has provided us with a copy of the transcript of Dr. Levine’s
           trial testimony and has rephrased the Court’s Order to request us to provide a letter
           “which contains the treatment proposed by UMMS for Michelle Kosilek ’as an
           alternative to Sex Reassignment Surgery, including whether it is willing to provide
           plaintiff with intensive psychotherapy by a qualified professional as discussed by Dr.
           Levine in his December 19, 2006 testimony.’” (quoting January 30, 2007 Order of the
           Court at ¶2(a)).

                   As you know, this response will be filed with the Court in connection with the
           ongoing trial of this case. We want to make it clear to you and to the Court that to
           respond to this request we have again consulted with and have relied upon Dr. Kaufman
           and Dr. Kapila, who are responsible for evaluating and providing surgical treatment
           recommendations for Ms. Kosilek and have continually provided us with expert guidance
           and advice in connection with her care and treatment. We have supplied Dr. Kaufman
           and Dr. Kapila with copies of the above-referenced trial transcript so that they could
           assist us to prepare this response and they have informed us that they completely agree
           with this response.
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                   As a preliminary matter, we note that our treatment recommendations for the
           plaintiff remain unchanged by Dr. Levine’s testimony; that is, we continue to recommend
           sexual reassignment surgery for Ms. Kosilek and we do not condone or agree with a
           treatment plan that further delays or denies that choice to Ms. Kosilek. This response
           should not be construed as acquiescence on our part to further delay or deny Ms. Kosilek
           the choice of sexual reassignment surgery. In fact, Dr. Levine agrees that denying Ms.
           Kosilek the choice of sexual reassignment surgery in this case would not be clinically
           prudent. (See transcript of testimony of Dr. Levine at p. 190-191)

                   It is our understanding that Dr. Levine discussed two different approaches to
           psychotherapy at trial. First, he discussed the type of psychotherapy that he would
           recommend in the event Ms. Kosilek were denied the choice of sexual reassignment
           surgery. (See transcript of testimony of Dr. Levine, at pp. 181-187). In that case, Dr.
           Levine recommended frequent psychotherapy to help Ms. Kosilek cope and adapt to the
           denial of sexual reassignment surgery and the affects that may have upon her. Dr. Levine
           mentioned that Ms. Kosilek’s current therapist, Mark Burrowes, LICSW, would be an
           appropriate clinician to provide her with that support, either supervised or unsupervised.

                   Generally, that is the kind of psychotherapy that we would provide to Ms.
           Kosilek, to the extent necessary, if she were denied the choice of surgery. We would
           carefully assess Ms. Kosilek’s mood and level of dysphoria and would utilize the
           resources that we have available to assess and treat patients for depression or suicidality,
           including psychotherapeutic and pharmacological interventions, if necessary. The
           psychotherapy would be provided as clinically needed and would be specifically
           designed to address issues of coping and adaptation. That therapy most likely would be
           provided by Mark Burrowes, LICSW under the supervision of our consultants from the
           Fenway Clinic and/or some other professionals with experience treating patients with
           gender identity disorder. We would also expect that Ms. Kosilek would continue to
           receive the treatment she has received to date to treat her gender identity disorder,
           including continued use of hormones, feminine attire and other feminine canteen items.
           We hasten to add, however, that Dr. Kaufman and Dr. Kapila have repeatedly informed
           us that such alternative treatment is likely going to be ineffective to relieve Ms. Kosilek’s
           distress and may well result in self harm or suicide.

                   It is our understanding that the second type of psychotherapy discussed by Dr.
           Levine would be designed to attempt to interest Ms. Kosilek “in the symbolic meaning to
           her of male genitalia” to assess whether sexual reassignment surgery is really something
           that she wants to pursue. (See transcript of testimony of Dr. Levine, at p. 213-218). Dr.
           Levine acknowledged, however, that “[m]any people with Gender Identity Disorders are
           what we call ‘literal.’ They literally want to get rid of their genitals . . .[and for those
           patients] we feel like no matter how long we give them, this person is not intellectually
           capable of grasping what we’re talking about and it’s like wasting our breath.” (See
           transcript of testimony of Dr. Levine, at pp.215-216).
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                   We have been informed by Dr. Kaufman and Dr. Kapila that this second type of
           psychotherapy discussed by Dr. Levine represents antiquated thinking and they would not
           recommend providing such psychotherapy to Ms. Kosilek. They have informed us that
           current research suggests that such psychotherapy is ineffective to alleviate dysphoria
           from gender identity disorder and that the focus of conventional treatment is to change
           the body of such patients, rather than the mind. In that regard, Ms. Kosilek has made it
           clear that she literally wants to get rid of her male genitalia and Dr. Kaufman and Dr.
           Kapila strongly believe that such psychotherapy likely would result in harm, rather than
           any good. Consequently, at this time we do not anticipate providing that kind of
           psychotherapy to Ms. Kosilek.


                                                      Sincerely yours,




                                                      Arthur Brewer, M.D.
                                                      Program Medical Director
                                                      University of Massachusetts Correctional
                                                      Health Program




           cc: Honorable Judge Wolf (via electronic filing)
               Attorney Frances Cohen (via electronic filing)
               Attorney Richard McFarland (via electronic filing)
               Patti Onorato, Executive Director, UMASS Correctional Health
